               Case 8:16-cv-01534-JVS-KES              Document 23 Filed 02/17/17     Page 1 of 30 Page ID
                                                             #:806


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                    8
                                                    UNITED STATES DISTRICT COURT
                    9
                                                  CENTRAL DISTRICT OF CALIFORNIA
                 10
                 11
                             VICK SAINI, individually and on           Case No. 16-CV-01534 JVS(KES)
                 12          behalf of all others similarly situated
                             and on behalf of the general public,      DEFENDANT MOTION
                 13                                                    RECRUITMENT PARTNERS,
                                                 Plaintiffs,           LLC’S REPLY IN SUPPORT OF ITS
                 14                                                    MOTION FOR SUMMARY
                 15                       v.                           JUDGMENT OR, IN THE
                                                                       ALTERNATIVE, FOR PARTIAL
                 16          MOTION RECRUITMENT                        SUMMARY JUDGMENT OF THE
                             PARTNERS, LLC, a Delaware                 CLAIMS IN PLAINTIFF VICK
                 17          Limited Liability Corporation, and        SAINI’S CLASS AND COLLECTIVE
                             DOES 1 through 10, inclusive,             ACTION COMPLAINT, OR FOR AN
                 18
                                                                       ORDER TREATING CERTAIN
                                                 Defendants.           FACTS AS ESTABLISHED
                 19
                 20                                                    DATE: March 6, 2017
                                                                       TIME: 1:30 P.M.
                 21                                                    DEPT: Courtroom 10C
                 22                                                    JUDGE: Hon. James V. Selna

                 23                                                    Complaint Filed:   July 19, 2016
                                                                             (Removed August 19, 2016)
                 24                                                    Discovery Cut-Off: December 12, 2017
                                                                       Trial Date:        March 27, 2018
                 25
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C U RL E Y , H U RT GE N &
    J OHNSRU D L L P
                                                                            REPLY ISO MTN. FOR SUM. JUDGMENT, OR IN
  COUNSE LO RS AT LA W                                                             THE ALT., PARTIAL SUM. JUDGMENT
      MENLO PAR K                                                                          (CASE NO. 16-CV-01534 (KES)
               Case 8:16-cv-01534-JVS-KES                    Document 23 Filed 02/17/17                     Page 2 of 30 Page ID
                                                                   #:807


                    1                                              TABLE OF CONTENTS
                    2                                                                                                                 Page No.
                    3
                             I.     INTRODUCTION ............................................................................................ 1
                    4
                             II.    RESPONSE TO SAINI’S STATEMENT OF FACTS .................................... 1
                    5
                             III.   LEGAL ARGUMENT ..................................................................................... 6
                    6
                                    A.      Summary Judgment Is Proper On Saini’s First Claim For
                    7                       Relief Under The FLSA. ........................................................................ 6
                    8                       1.       Saini Fails To Raise A Triable Issue As To His Alleged
                    9                                Status As An MRP Employee. .................................................... 6
                 10                         2.       Saini Fails To Raise A Triable Issue That He Performed
                                                     Compensable Work For MRP. .................................................. 10
                 11
                                    B.      Summary Judgment Is Proper On Saini’s California State
                 12                         Law Claims. ......................................................................................... 14
                 13                         1.       Saini Fails To Raise A Triable Issue As To His Alleged
                 14                                  Status As An MRP Employee. .................................................. 14
                 15                         2.       Saini Fails To Raise A Triable Issue That He Performed
                                                     Compensable Work For MRP. .................................................. 16
                 16
                                    C.      Saini Fails To Raise A Triable Issue As To His Fifth, Sixth, and
                 17                         Seventh Claims For Relief. .................................................................. 23
                 18                 D.      Saini’s Rule 56(d) Request Should Be Denied. ................................... 24
                 19
                             IV.    CONCLUSION .............................................................................................. 25
                 20
                 21
                 22
                 23
                 24
                 25
                 26
                 27
                 28
C U RL E Y , H U RT GE N &
    J OHNSRU D L L P
                                                                                               REPLY ISO MTN. FOR SUM. JUDGMENT, OR IN
  COUNSE LO RS AT LA W                                                            i                   THE ALT., PARTIAL SUM. JUDGMENT
      MENLO PAR K                                                                                             (CASE NO. 16-CV-01534 (KES)
               Case 8:16-cv-01534-JVS-KES                       Document 23 Filed 02/17/17                   Page 3 of 30 Page ID
                                                                      #:808


                    1                                             TABLE OF AUTHORITIES
                    2                                                                                                              Page No(s).
                    3
                             Cases
                    4
                             Bell Atlantic Corp. v. Twombly
                    5          550 U.S. 544 (2007) .............................................................................................. 22
                    6        Betancourt v. Advantage Human Resourcing, Inc.
                               2014 WL 4365074 (N.D. Cal. 2014) ................................14, 15, 17, 18, 22, 23, 24
                    7
                    8        Bonette v. California Health and Welfare Agency
                               704 F.2d 1465 (9th Cir. 1983) .................................................................................. 9
                    9
                             British Airways Bd. v. Boeing Co.
                 10            585 F.2d 946 (9th Cir. 1978) .......................................................................... 1, 9, 20
                 11          Dellinger v. Science Applications International Corp.
                              2010 WL 1375263 (E.D. Va. April 2, 2010) .......................................................... 8
                 12
                 13          FTC v. Publ'g Clearing House
                              104 F.3d 1168 (9th Cir.1996).................................................................................. 2
                 14
                             Gunawan v. Howroyd-Wright Employment Agency
                 15           997 F.Supp.2d 1058 (C.D. Cal. 2014) ..........1, 6, 15, 16, 18, 19, 20, 21, 22, 23, 24
                 16          Harris v. Vector Marketing Corp.
                              656 F. Supp. 2d 1128 (N.D. Cal. 2009) ................................................................ 24
                 17
                 18          Kaiser Cement Corp. v. Fishbach and Moore, Inc.
                              793 F.2d 1100 (9th Cir. 1986) .................................................................................. 8
                 19
                             Kennedy v. Allied Mut. Ins. Co.
                 20           952 F.2d 262 (9th Cir. 1991)................................................................................... 6
                 21          Kroll v. Home Depot U.S.A., Inc.
                               2003 WL 23332905 (S.D. Ga. Aug. 20, 2003) ..................................................... 11
                 22
                 23          Lewis v. Adecco USA, Inc.
                               2014 WL 2516347 (Cal. Super. Jan. 2, 2014) ...................................................... 22
                 24
                             Mackey v. Pioneer Nat’l Bank
                 25           867 F.2d 520 (9th Cir. 1989) .................................................................................. 25
                 26          Nance v. May Trucking Co.
                              2014 WL 199136 (D. Oregon Jan. 15, 2014) ....................................................... 11
                 27
                 28
C U RL E Y , H U RT GE N &
    J OHNSRU D L L P
                                                                                                REPLY ISO MTN. FOR SUM. JUDGMENT, OR IN
  COUNSE LO RS AT LA W                                                              ii                 THE ALT., PARTIAL SUM. JUDGMENT
      MENLO PAR K                                                                                              (CASE NO. 16-CV-01534 (KES)
               Case 8:16-cv-01534-JVS-KES                        Document 23 Filed 02/17/17                     Page 4 of 30 Page ID
                                                                       #:809


                    1                                               TABLE OF AUTHORITIES
                                                                           (cont'd)
                    2
                    3                                                                                                                 Page No(s).

                    4        Orr v. Bank of America
                              285 F.3d 764 (9th Cir. 2002) .................................................................................... 8
                    5
                             Perez v. TLC Residential, Inc.
                    6          2016 WL 6143190 (N.D. Cal. Oct. 21, 2016)....................................................... 11
                    7        Sullivan v. Kelly Services, Inc.
                    8          2009 WL 3353300 (N.D. Cal. 2009) ................................14, 15, 17, 18, 20, 23, 24
                    9        Tatum v. City & County of San Francisco
                               441 F.3d 1090 (9th Cir. 2006) ................................................................................ 25
                 10
                             Tennessee Coal, Iron & R. Co. v. Muscoda Local No. 123
                 11            321 U.S. 590 (1944) .............................................................................................. 11
                 12          Tony & Susan Alamo Foundation v. Secretary of Labor
                 13            471 U.S. 290 (1985) .............................................................................................. 13
                 14          Walling v. Portland Terminal Co.
                              330 U.S. 148 (1947) ................................................................................................ 6
                 15
                             Williams v. Strickland
                 16           87 F.3d 1064 (9th Cir. 1996) ........................................................................ 6, 7, 8, 9
                 17          Zeinali v. Raytheon Co.
                 18            2011 WL 2669459 (June 29, 2011) .................................................................. 9, 20
                 19          Statutes
                 20          29 C.F.R. § 553.221(b) ............................................................................................. 10
                 21          29 C.F.R. § 778.223 .................................................................................................. 10
                 22          29 C.F.R. § 785.7 ...................................................................................................... 10
                 23          29 U.S.C. § 206(a)(1) ................................................................................................. 8
                 24
                             Fed. R. Civ. Proc. § 56(d) ......................................................................................... 25
                 25
                             Fed. R. Civ. Proc. § 56(c)(4) ...................................................................................... 1
                 26
                 27
                 28
C U RL E Y , H U RT GE N &                                                                        REPLY ISO MTN. FOR SUM. JUDGMENT, OR IN
    J OHNSRU D L L P
  COUNSE LO RS AT LA W
                                                                                     iii                 THE ALT., PARTIAL SUM. JUDGMENT
      MENLO PAR K                                                                                                (CASE NO. 16-CV-01534 (KES)
               Case 8:16-cv-01534-JVS-KES                         Document 23 Filed 02/17/17                       Page 5 of 30 Page ID
                                                                        #:810


                    1                                                TABLE OF AUTHORITIES
                                                                            (cont'd)
                    2
                    3                                                                                                                    Page No(s).

                    4        Rules
                    5        Civ. L. R. 7-7 .............................................................................................................. 1
                    6        Rule 56(d) ........................................................................................................... 24, 25
                    7
                    8
                    9
                 10
                 11
                 12
                 13
                 14
                 15
                 16
                 17
                 18
                 19
                 20
                 21
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C U RL E Y , H U RT GE N &                                                                           REPLY ISO MTN. FOR SUM. JUDGMENT, OR IN
    J OHNSRU D L L P
  COUNSE LO RS AT LA W
                                                                                       iv                   THE ALT., PARTIAL SUM. JUDGMENT
      MENLO PAR K                                                                                                   (CASE NO. 16-CV-01534 (KES)
               Case 8:16-cv-01534-JVS-KES             Document 23 Filed 02/17/17         Page 6 of 30 Page ID
                                                            #:811


                    1        I.    INTRODUCTION
                    2              Plaintiff Vick Saini’s (“Saini”) Opposition fails to raise a triable issue as to
                    3        his (1) alleged status as an employee of Defendant Motion Recruitment Partners,
                    4        LLC (“MRP”) or (2) performance of compensable work for MRP. Saini attempts to
                    5        fit a square peg into a round hole by citing two unpublished Northern District of
                    6        California decisions, the reasoning of which has been rejected by this District in the
                    7        Gunawan decision. Those two decisions involved existing employees of a
                    8        temporary agency and (unlike Gunawan) found certain interview time to be
                    9        compensable. The reasoning in those decisions is flawed and they are
                 10          distinguishable factually because Saini was only an applicant and never an
                 11          employee. Saini never went on an interview after completing an assignment with an
                 12          MRP client because he never started an assignment with an MRP client.
                 13                Saini’s alleged evidence of MRP’s purported “control” over him is based on
                 14          conclusory assertions that lack foundation and are directly contradicted by the
                 15          undisputed facts. Saini simply cannot escape the fact that he voluntarily chose to use
                 16          MRP’s services to find a new job and was, at all times, free to decide whether to
                 17          authorize MRP to submit him for a role, whether to interview for that role, whether
                 18          to leave an interview if he decided that “this job is not for me,” and whether to
                 19          accept any job offered to him. His attempt to force MRP to pay him for the time it
                 20          spent trying to help him get work is both ironic and unwarranted. Accordingly, MRP
                 21          respectfully requests that the Court grant its motion.
                 22          II.   RESPONSE TO SAINI’S STATEMENT OF FACTS
                 23                Evidentiary facts are required in opposition to a motion for summary
                 24          judgment. Fed. R. Civ. Proc. 56(c)(4); Civ. L. R. 7-7. Mere conclusions of law are
                 25          not sufficient. See e.g., British Airways Bd. v. Boeing Co., 585 F.2d 946, 952 (9th
                 26          Cir. 1978) cert. denied, 440 U.S. 981 (1979). “A conclusory, self-serving affidavit,
                 27          lacking detailed facts and any supporting evidence, is insufficient to create a
                 28          genuine issue of material fact.” FTC v. Publ'g Clearing House, 104 F.3d 1168,
C U RL E Y , H U RT GE N &
    J OHNSRU D L L P
                                                                               REPLY ISO MTN. FOR SUM. JUDGMENT, OR IN
  COUNSE LO RS AT LA W                                               1                THE ALT., PARTIAL SUM. JUDGMENT
      MENLO PAR K                                                                             (CASE NO. 16-CV-01534 (KES)
               Case 8:16-cv-01534-JVS-KES               Document 23 Filed 02/17/17        Page 7 of 30 Page ID
                                                              #:812


                    1        1171 (9th Cir.1996). Saini’s “Statement of Facts” is anything but factual. Opp. at
                    2        2:14-7:19. Saini has re-written history, and mischaracterized his own deposition
                    3        testimony, in an effort to show MRP’s alleged “control” over him. 1 The true facts
                    4        are as follows:
                    5             • Saini’s first contact with MRP occurred when Saini submitted his resume for
                    6                a position available through Indeed.com, after which he was contacted by
                    7                Nowicki, a Workbridge recruiter. UF 5, 8-9. During initial this call (referred
                    8                to by Saini as an “orientation”), Nowicki spent the majority of the time
                    9                discussing Saini’s background and experience, and "because [Saini was] in
                 10                  project management, again, it goes back to my certification in Agile. So they
                 11                  also drill me on the methodologies. Agile versus Waterfall, which one do
                 12                  you prefer, which one do you like to work with. . ." (VS Tr. 175:9-21.); BJ
                 13                  Dec. at ¶ 2, Ex. A (VS Tr. 148:4-149:4, 173:23-175:23); see also UF 8-9. 2
                 14                  Saini’s assertion that, during this “orientation,” he "felt they had control over
                 15                  me, that I was their employee, and if I did not do that, I will not be able to go
                 16                  any further. So I felt they had control over me," is self-serving, conclusory,
                 17                  and lacks foundation. (VS Tr. 166:2-9.) It was Saini who reached out to
                 18                  MRP, and if Saini was not interested in moving forward, nothing stopped
                 19                  him from hanging up the phone and submitting his resume elsewhere.
                 20               • Nowicki then offered to submit Saini to a few positions that might be a good
                 21                  fit, informing Saini that he needed a signed “right to represent” to submit
                 22                  him. UF 8-13, 50-53, 55-70; see also Opp. at 3:17-18.
                 23               • Nowicki submitted Saini’s resume without alteration other than to remove his
                 24                  personal contact information. UF 14. There is simply no support for Saini’s
                 25
                             1
                 26              MRP’s evidentiary objections are filed herewith.
                 27          2
                               Unless otherwise indicated, the cited portions of the Transcript of Vick Saini
                 28          (“VS Tr.”) are attached as Exhibit A to the Declaration of Marc Phelps.
C U RL E Y , H U RT GE N &                                                      REPLY ISO MTN. FOR SUM. JUDGMENT, OR IN
    J OHNSRU D L L P
  COUNSE LO RS AT LA W
                                                                       2               THE ALT., PARTIAL SUM. JUDGMENT
      MENLO PAR K                                                                              (CASE NO. 16-CV-01534 (KES)
               Case 8:16-cv-01534-JVS-KES           Document 23 Filed 02/17/17         Page 8 of 30 Page ID
                                                          #:813


                    1           speculation that “MRP would revise Plaintiff’s resume according to what
                    2           would look best for its client/placement.” Saini testified that he did not know
                    3           whether MRP revised his resume. (VS Tr. 92:25-93:12.)
                    4        • Nowicki provided Saini with links to the LinkedIn profiles of his
                    5           interviewers and job descriptions for the positions to help position Saini for
                    6           success in obtaining jobs he wanted. UF 15-21, 61-70. According to Saini,
                    7           “[i]t’s well known in IT. It takes a few hours minimum to be prepared for
                    8           the IT [interview] because they drill you on everything.” BJ Dec. ¶ 2, Ex. A
                    9           (VS Tr. 93:13-94:4). This would be true whether Saini was applying for jobs
                 10             on his own or through MRP. Saini wanted to land the job, so he took the
                 11             time to prepare for the interviews.
                 12          • As Saini testified, MRP did not set the time and location of the interview, its
                 13             clients did. “Kyle told me this is their time . . . , and that’s what the client is
                 14             looking for.” (VS Tr. 39:22-25.) Saini’s claim that he felt he had no choice
                 15             but to participate in the interview is self-serving, conclusory and, quite
                 16             frankly, absurd. Opp. at 5:18-24 (VS Tr. 40:17-25, 45:9-25.) Saini was
                 17             already employed full-time elsewhere at the time of this interview. UF 6. He
                 18             bases his assertion on an alleged need for “flexibility,” yet admits that he
                 19             received the date of his choice for this interview, but not the time of his
                 20             choice. BJ Dec. ¶ 2, Ex. A (VS Tr. 45:22-46:6). Moreover, any lack of
                 21             flexibility was because the client was “looking to move fast, and I [Nowicki]
                 22             prefer you take the call because they're making the decision quickly. So
                 23             there was no flexibility there that I needed." (VS Tr. 40:17-25). This was a
                 24             job that Saini wanted. UF 19, 27, 29, 35. There is no evidence that Saini
                 25             could not have declined the interview and, instead, either sought new work
                 26             independently or continued to use MRP's services to find other positions that
                 27             did not need to move as quickly. KN Dec. at ¶ 3.
                 28
C U RL E Y , H U RT GE N &                                                   REPLY ISO MTN. FOR SUM. JUDGMENT, OR IN
    J OHNSRU D L L P
  COUNSE LO RS AT LA W
                                                                   3                THE ALT., PARTIAL SUM. JUDGMENT
      MENLO PAR K                                                                           (CASE NO. 16-CV-01534 (KES)
               Case 8:16-cv-01534-JVS-KES          Document 23 Filed 02/17/17       Page 9 of 30 Page ID
                                                         #:814


                    1        • MRP was not present during any of Saini’s interviews, and Nowicki did not
                    2           know the specific questions that would be asked of Saini during the
                    3           interview. UF 15-26, 50-53, 61-70. To help prepare Saini, Nowicki offered
                    4           general advice on "what to . . . expect[]" because "they [MRP] have history
                    5           with these people, how their personality is, and how they should do with the -
                    6           - with the -- what you call -- interview, and also what to wear -- and this type
                    7           of stuff too." (VS Tr. 150:17-151:7.) As Saini admits, Nowicki could not
                    8           advise him on the technical questions because “[Nowicki] won’t be able to
                    9           answer technical questions” and Saini is “more technical than [Workbridge].”
                 10             UF 24 (VS Tr. 150:18-23, 151:8-14).
                 11          • MRP's alleged "policy" of having one of its employees meet the candidate at
                 12             the client interview site, brief them, and walk them into the building lacks
                 13             foundation and is irrelevant as Saini admits this never occurred at any of his
                 14             interviews. (VS Tr. 95:4-96:2); UF 22-26, 68-70.
                 15          • After verbally accepting an offer with Experian, Saini went through a second
                 16             “orientation” with MRP which was “merely given to [him] over the phone
                 17             and an online portal . . . Again, once I landed the job, we went over the
                 18             documents, role of conduct, employee handbook, and all that.” (VS Tr.
                 19             145:15-21.) Saini went on: “I did orientation once I landed a job. Kyle went
                 20             with their whole employer background on the orientation on what is expected
                 21             of their employees, the rule of conduct, what Workbridge expects of their
                 22             employees and - what tasks are required.” (VS Tr. 147:17-148:2; 149:5-11.)
                 23          • Saini was never told he was an MRP employee during this “orientation.”
                 24             Opp. at 6:10. As Saini testified, Nowicki told him the following about "HR
                 25             process": "He gave me online user name and password, told me to go to the
                 26             HR paperwork to make sure I sign it online, all the disclosure, EEO forms,
                 27             employee conduct. He also went over the phone with me what Experian - -
                 28             what Workbridge expects of employees." (VS Tr. 61:20-62:2.)
C U RL E Y , H U RT GE N &                                                REPLY ISO MTN. FOR SUM. JUDGMENT, OR IN
    J OHNSRU D L L P
  COUNSE LO RS AT LA W
                                                                  4              THE ALT., PARTIAL SUM. JUDGMENT
      MENLO PAR K                                                                        (CASE NO. 16-CV-01534 (KES)
             Case 8:16-cv-01534-JVS-KES              Document 23 Filed 02/17/17        Page 10 of 30 Page ID
                                                            #:815


                    1           • Saini was not required to submit any “reports” about “what was happening at
                    2              Experian to MRP.” Opp. at 6:16-18 (VS Tr. 62:25-63:10). Rather, Nowicki
                    3              asked Plaintiff to “report back to [him] and give [him] feedback how it is - -
                    4              how things going with the client and everything.” Id. In other words,
                    5              Nowicki wanted to make sure that Plaintiff was happy in his new role.
                    6           • Saini was given information about benefits he was eligible to receive once he
                    7              became an employee of MRP and completed any other prerequisites, such as
                    8              working 30 hours per work following 30 days of employment for health
                    9              benefits. Opp. at 6:19-20 (VS Tr. 63:11-25); BJ Dec. ¶ 2, Ex. A (VS Tr.
                 10                59:2-24, Ex. 9); Declaration of Brian L. Johnsrud in support of Defendant’s
                 11                Reply (“BJ Reply Dec.”) at ¶ 5, Ex. A (VS Tr. 64:1-11.)
                 12             • Saini never entered any time on SAP Fieldglass, the timekeeping system used
                 13                by Experian, not MRP. (VS Tr. 62:11-24); UF 76.
                 14             • The Employee Handbook Acknowledgement signed by Saini states that it
                 15                does not “vary or supersede the regular conditions of my employment.”
                 16                (Phelps Dec., Ex. J.) Those “regular conditions” were set forth in the
                 17                Agreement for Supplying Temporary Employment Services ("PTE"), which
                 18                remained in draft form, and which Saini admits he never signed. UF 43.
                 19                Thus, while Saini would have become an employee of MRP employee had
                 20          the Experian position gone forward, once this position was cancelled, Saini’s
                 21          onboarding process was also cancelled. UF 30-48, 72-79.
                 22                Saini’s reliance on MRP's recruiter training materials for alleged evidence of
                 23          his status as an “employee” is misguided. These documents state only that
                 24          recruiters are to “explain to candidates that we will be their employer” (as opposed
                 25          to a 1099 independent contractor). Opp. at 4:16-21. In other words, assuming a
                 26          candidate is placed with an MRP client in a temporary role, MRP will be their
                 27          employer. As to Saini, it is undisputed that this never occurred because the only
                 28          role he was offered was cancelled before he started work. UF 30-48, 54, 71, 73-76,
C U RL E Y , H U RT GE N &                                                   REPLY ISO MTN. FOR SUM. JUDGMENT, OR IN
    J OHNSRU D L L P
  COUNSE LO RS AT LA W
                                                                    5               THE ALT., PARTIAL SUM. JUDGMENT
      MENLO PAR K                                                                           (CASE NO. 16-CV-01534 (KES)
             Case 8:16-cv-01534-JVS-KES               Document 23 Filed 02/17/17          Page 11 of 30 Page ID
                                                             #:816


                    1        79-80; see Gunawan v. Howroyd-Wright Employment Agency, 997 F.Supp.2d 1058,
                    2        1064 (C.D. Cal. 2014). (“Certainly, the fact that a prospective employer has control
                    3        over the wages, hours, and working conditions of the prospective employee, if
                    4        hired, does not transform that applicant for employment into an employee.”).
                    5               Saini’s reliance on the PTE is also misplaced as it is undisputed that the PTE
                    6        was never signed by Saini, and remained in draft form. UF 43; Opp. at 4:22-5:6.
                    7        While Saini now claims in his Declaration that he received the PTE and understood
                    8        that it applied to him, he testified at deposition that he "did not know" whether he
                    9        ever even saw the PTE. BJ Dec., Ex. A (VS Tr. 81:23-82:15, Ex. 23); see Kennedy
                 10          v. Allied Mut. Ins. Co., 952 F.2d 262, 266 (9th Cir. 1991) (“The general rule in the
                 11          Ninth Circuit is that a party cannot create an issue of fact by an affidavit
                 12          contradicting his prior deposition testimony.”).
                 13                 Finally, MRP’s business model is irrelevant to any material issue. Opp. at
                 14          5:7-17. That MRP vetted candidates before sending them out on interviews with
                 15          MRP clients, and would be compensated if it successfully placed a candidate with a
                 16          client, has no bearing on whether Saini was an MRP employee or whether he
                 17          performed compensable work for MRP.
                 18          III.   LEGAL ARGUMENT
                 19                 A.    Summary Judgment Is Proper On Saini’s First Claim For Relief
                 20                       Under The FLSA.
                 21                       1.     Saini Fails To Raise A Triable Issue As To His Alleged
                                                 Status As An MRP Employee.
                 22
                 23                 Saini too quickly attempts to dismiss the Williams v. Strickland, 87 F.3d
                 24          1064, 1066 (9th Cir. 1996) decision. In Williams, the Ninth Circuit determined that
                 25          the plaintiff, who spent six months at an Adult Rehabilitation Center of the
                 26          Salvation Army, was never an employee under the FLSA, relying on the Supreme
                 27          Court’s decision in Walling v. Portland Terminal Co., 330 U.S. 148, 67 S.Ct. 639,
                 28          91 L.Ed. 809 (1947), stating:
C U RL E Y , H U RT GE N &                                                      REPLY ISO MTN. FOR SUM. JUDGMENT, OR IN
    J OHNSRU D L L P
  COUNSE LO RS AT LA W
                                                                      6                THE ALT., PARTIAL SUM. JUDGMENT
      MENLO PAR K                                                                              (CASE NO. 16-CV-01534 (KES)
             Case 8:16-cv-01534-JVS-KES               Document 23 Filed 02/17/17         Page 12 of 30 Page ID
                                                             #:817


                    1              Yet, despite the broad scope of the FLSA, the Court articulated two
                    2              limits to FLSA coverage which are relevant to this appeal. First, the
                                   Court wrote that the definition of employee was “not intended to stamp
                    3              all persons as employees who, without any express or implied
                    4              compensation agreement, might work for their own advantage on the
                                   premises of another,” and second, the FLSA does not make a person
                    5              “whose work serves only his own interest an employee of another
                    6              person who gives him aid and instruction.” Id at 152, 67 S.Ct. at 641.
                                   Applying these principles, the Court held that the trainees were not
                    7              employees because the railroad received no “immediate advantage”
                    8              from their work. Id. at 153, 67 S.Ct. at 642.
                    9        Williams, 87 F.3d at 1066.
                 10                Here, Saini presents no evidence that there was any express or implied
                 11          agreement that he would be compensated for any of his alleged “work” for MRP.
                 12          UF 43, 77-78. To the contrary, while Saini claims to have asked Nowicki whether
                 13          he “should be getting paid for this,” Saini concedes that Nowicki never responded
                 14          and Saini never brought it up again, thus confirming the absence of any such
                 15          agreement.3 UF 77 (VS Tr. 143:2-144:21). Saini admits that he never signed the
                 16          PTE (UF 43), and MRP’s Employee Handbook, which Saini acknowledges reading,
                 17          makes clear that “time worked is all time actually spent on the job performing
                 18          assigned duties,” which Saini admits he never did. UF 73-80. Saini did not pay
                 19          MRP to help him find work, and MRP has received no compensation from
                 20          Experian or any other client related to Saini. UF 2, 81-82.
                 21                Moreover, Saini’s alleged “work” for MRP, consisting of preparing for,
                 22          traveling to, and participating in interviews for positions he was interested in, de-
                 23          briefing his recruiter following those interviews, completing some standard pre-
                 24          employment paperwork, and receiving an “orientation” from Nowicki about MRP’s
                 25          3
                               Saini’s argument that this alleged discussion shows only that Nowicki “forgot to
                 26          ask” is nothing more than speculation and fails to create a triable issue as to
                 27          whether there was an express or implied agreement that Saini would be
                             compensated for interview time and other pre-employment activities. Opp. at
                 28          13:19, n. 7. Indeed, Saini does not even attempt to dispute this fact. UF 77.
C U RL E Y , H U RT GE N &                                                     REPLY ISO MTN. FOR SUM. JUDGMENT, OR IN
    J OHNSRU D L L P
  COUNSE LO RS AT LA W
                                                                     7                THE ALT., PARTIAL SUM. JUDGMENT
      MENLO PAR K                                                                             (CASE NO. 16-CV-01534 (KES)
             Case 8:16-cv-01534-JVS-KES               Document 23 Filed 02/17/17        Page 13 of 30 Page ID
                                                             #:818


                    1        services, processes, and available benefits, was primarily for Saini’s interest and not
                    2        MRP’s. MRP, at most, gave Saini “aid and instruction” to help him obtain
                    3        positions he wanted. Williams, 87 F.3d at 1066.
                    4              Saini also fails to distinguish Dellinger v. Science Applications International
                    5        Corp., No. 1:10cv25 (JCC), 2010 WL 1375263, at *4 (E.D. Va. April 2, 2010).
                    6        Saini argues that Dellinger involved an FLSA retaliation claim, yet Dellinger based
                    7        its ruling on the plain statutory language which limited the Act’s coverage to
                    8        “employees.” The minimum wage provisions of the FLSA on which Saini’s FLSA
                    9        claim is predicated also limit coverage to an “employee.” 29 U.S.C. § 206(a)(1).
                 10                While Saini argues that completing certain MRP forms that referred to him as
                 11          an “employee” as part of the onboarding process, and MRP’s maintenance of these
                 12          forms, made him an employee, these customary pre-employment documents do not,
                 13          and cannot, create a triable issue as to Saini’s employment status. Opp. at 9:19-28,
                 14          14:23-25. Filling out government-required forms like those completed by Saini are
                 15          reasonable activities “designed to enable [a staffing agency] to place applicants
                 16          efficiently in temporary assignments” and do not transform an applicant into an
                 17          employee. See RJN at Ex. A (Welch-Hess v. Remedy, Case No. GIC 806820, at *3-
                 18          *4 (San Diego Sup. Ct. July 19, 2006) (holding that applicants for employment
                 19          through a temporary agency were not employees unless they were on assignment
                 20          with a client of the agency)).
                 21                Saini’s reliance on conclusory, inadmissible hearsay statements by Nowicki
                 22          that Saini was “already an employee of Workbridge” also cannot raise a triable
                 23          issue as to his alleged employment status. Opp. at 9:21, 14:25-27 (citing VS Tr. at
                 24          100:4-11); see Orr v. Bank of America, 285 F.3d 764, 783 (9th Cir. 2002) (“To
                 25          defeat summary judgment, [plaintiff] ‘must respond with more than mere hearsay
                 26          and legal conclusions.’”) (quoting Kaiser Cement Corp. v. Fishbach and Moore,
                 27          Inc., 793 F.2d 1100, 1104 (9th Cir. 1986)). Likewise, Saini’s contention that he was
                 28          told his background check was complete and MRP “had all the paperwork that it
C U RL E Y , H U RT GE N &                                                    REPLY ISO MTN. FOR SUM. JUDGMENT, OR IN
    J OHNSRU D L L P
  COUNSE LO RS AT LA W
                                                                     8               THE ALT., PARTIAL SUM. JUDGMENT
      MENLO PAR K                                                                            (CASE NO. 16-CV-01534 (KES)
             Case 8:16-cv-01534-JVS-KES               Document 23 Filed 02/17/17         Page 14 of 30 Page ID
                                                             #:819


                    1        needed” is also inadmissible hearsay, and contradicted by admissible evidence
                    2        showing that Saini’s background check was cancelled, his I-9 Form was never
                    3        completed because he did not go to Workbridge’s offices to provide the supporting
                    4        documentation, and he never signed the PTE, all of which were required to
                    5        complete MRP’s onboarding process. UF 30-48. Further, the “take it or leave it”
                    6        pay rate for the Experian role, and MRP’s role in facilitating interview scheduling
                    7        also fail to raise a triable issue as to whether Saini was an employee under the
                    8        Williams factors. Opp. at 9:19-28.
                    9              Finally, Saini’s testimony that he was not employed between Centric Sky and
                 10          his current role only further reinforces the conclusion that Saini was a mere
                 11          applicant. (VS Tr. at 19:2-24.) This testimony shows that even Saini did not
                 12          consider MRP to be his employer because his only interactions with MRP were as a
                 13          placement agency helping him find work. UF 1-2, 5-82. Saini’s subsequent
                 14          testimony referring to himself as a MRP employee is self-serving, conclusory, lacks
                 15          foundation, and cannot create a triable issue of fact as to Saini’s actual status.
                 16          British Airways, 585 F.2d at 952 (9th Cir. 1978); Zeinali v. Raytheon Co., 2011 WL
                 17          2669459 at *4 (S.D. Cal., July 7, 2011); Opp. at 10:15-22 (citing VS Tr. at 61:20-
                 18          62:2, 66:20-22, 100:1-3, 124:23-125:5, 138:2-5, 140:3-9, 141:1-4, 145:7-8, 146:1-2,
                 19          149:17-19, 152:7-8, 159:22-23, 160:4-5, 166:6-7, 169:5-6).
                 20                Saini next argues that he was an employee on the factors outlined in Bonette v.
                 21          California Health and Welfare Agency, 704 F.2d 1465, 1470 (9th Cir. 1983). In
                 22          Bonette, however, the issue was not whether the plaintiff was an employee or
                 23          applicant, but rather, whether the plaintiff was jointly employed by two separate
                 24          entities. In evaluating that issue, the court looked at “whether the alleged employer
                 25          (1) had the power to hire and fire the employees, (2) supervised and controlled
                 26          employee work schedules or conditions of employment, (3) determined the rate and
                 27          method of payment, and (4) maintained employment records.” Id. In this case, the
                 28          issue is not whether MRP was a joint employer, but instead, whether Saini was ever
C U RL E Y , H U RT GE N &                                                     REPLY ISO MTN. FOR SUM. JUDGMENT, OR IN
    J OHNSRU D L L P
  COUNSE LO RS AT LA W
                                                                      9               THE ALT., PARTIAL SUM. JUDGMENT
      MENLO PAR K                                                                             (CASE NO. 16-CV-01534 (KES)
             Case 8:16-cv-01534-JVS-KES               Document 23 Filed 02/17/17        Page 15 of 30 Page ID
                                                             #:820


                    1        an employee in the first place. But even if the Bonette factors were applied, Saini’s
                    2        evidence, to the extent admissible, establishes nothing more than that he would have
                    3        become MRP’s employee had he completed the onboarding process and started work
                    4        with Experian, which indisputably never occurred. UF 30-79. Accordingly,
                    5        summary judgment is proper on Saini’s first claim for relief.
                    6                     2.    Saini Fails To Raise A Triable Issue That He Performed
                    7                           Compensable Work For MRP.

                    8              Further, even if the Court determines there is any triable issue as to whether
                    9        Saini was an MRP employee (he was not), Saini fails to raise a triable issue as to
                 10          whether he performed any compensable work for MRP. Notably, Saini fails to cite
                 11          to a single case holding that (1) preparing for, traveling to, and attending telephone
                 12          and in-person interviews with MRP clients; (2) filling out pre-employment
                 13          paperwork; (3) receiving an “orientation” from Workbridge (which consisted of a
                 14          brief telephone overview of Workbridge’s services, processes, and procedures
                 15          during an introductory call with Nowicki and, subsequently, after receiving an offer
                 16          from Experian); (4) attending “mandatory meetings” (specifically, calling his
                 17          recruiter before and after interviews to prepare and de-brief); and (5) being placed
                 18          with Experian, though no substantive work was performed, constitute compensable
                 19          “work” under the FLSA. The Court should not make new law on this point.
                 20                Saini argues that these activities constitute compensable “work” because he
                 21          was allegedly “required to be on duty . . . or at a prescribed workplace” and was
                 22          “suffered or permitted to work whether or not he is required to do so.” Opp. at
                 23          11:5, n. 5 (citing 29 C.F.R. §§ 778.223, 553.221(b), 785.7). This circular
                 24          conclusion begs the question of whether Saini was “on duty” and performed “work”
                 25          while engaging in these activities. MRP’s cases confirm that these types of
                 26          activities, which are distinct from the actual IT project management duties Saini
                 27          would have performed had he started working for one of MRP’s clients, are non-
                 28          compensable under the FLSA. See Kroll v. Home Depot U.S.A., Inc., No. Civ.A
C U RL E Y , H U RT GE N &                                                    REPLY ISO MTN. FOR SUM. JUDGMENT, OR IN
    J OHNSRU D L L P
  COUNSE LO RS AT LA W
                                                                    10               THE ALT., PARTIAL SUM. JUDGMENT
      MENLO PAR K                                                                            (CASE NO. 16-CV-01534 (KES)
             Case 8:16-cv-01534-JVS-KES              Document 23 Filed 02/17/17        Page 16 of 30 Page ID
                                                            #:821


                    1        CV202-113, 2003 WL 23332905, at *5 (S.D. Ga. Aug. 20, 2003) (finding interview
                    2        time non-compensable); Nance v. May Trucking Co., No. 3:12–cv–01655–HZ,
                    3        2014 WL 199136, *5 (D. Oregon Jan. 15, 2014) (finding orientation time, which
                    4        included drug testing, safety testing, and completing paperwork, non-compensable).
                    5              The proper focus in evaluating whether Saini performed compensable work
                    6        is whether the activities at issue were “controlled or required by the employer and
                    7        pursued necessarily and primarily for the benefit of the employer and his business.”
                    8        Tennessee Coal, Iron & R. Co. v. Muscoda Local No. 123, 321 U.S. 590, 598, 64
                    9        S.Ct. 698, 88 L.Ed. 949 (1944) (emphasis added; footnote omitted). Courts in the
                 10          Ninth Circuit examine: (1) whether the defendant received an “immediate
                 11          advantage” from the plaintiff’s alleged work; and (2) whether there was an express
                 12          or implied agreement for compensation. Nance, 2014 WL 199136, *5.
                 13                While Saini attempts to dispute this framework, his own authority is entirely
                 14          consistent with these factors, and adds two other factors. See Perez v. TLC
                 15          Residential, Inc., 2016 WL 6143190, at *3 (N.D. Cal. Oct. 21, 2016) (considering
                 16          “(1) whether ‘any express or implied compensation agreement’ exists between
                 17          defendants and their house parents; (2) whether the house parents work ‘for their
                 18          own advantage’ or for defendants’ ‘immediate advantage’; (3) whether and to what
                 19          extent the house parents are economically dependent on defendants; and (4)
                 20          whether and to what extent the house parents’ work, and their relationships with
                 21          defendants, contemplates rehabilitation rather than compensation.”).
                 22                Taking these factors together, Saini performed no compensable work for
                 23          MRP. First, there was no agreement, express or implied, that Saini would be
                 24          compensated for his time engaging in pre-employment activities. UF 43, 77-78.
                 25          Saini admits that Nowicki made no such representation, and MRP’s Employee
                 26          Handbook, which Saini read, makes clear that “time worked is all time actually
                 27          spent on the job performing assigned duties,” which Saini admits he never did. UF
                 28          73-80, 77 (VS Tr. 143:2-144:21). Saini further admits that he never signed a PTE
C U RL E Y , H U RT GE N &                                                   REPLY ISO MTN. FOR SUM. JUDGMENT, OR IN
    J OHNSRU D L L P
  COUNSE LO RS AT LA W
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      MENLO PAR K                                                                           (CASE NO. 16-CV-01534 (KES)
             Case 8:16-cv-01534-JVS-KES                Document 23 Filed 02/17/17        Page 17 of 30 Page ID
                                                              #:822


                    1        with MRP. UF 43.
                    2              Second, any job Saini obtained through MRP would have been primarily for
                    3        his own benefit. Saini was applying for jobs he was interested in with
                    4        “technologies that [he] liked to be involved with” and stood to receive valuable
                    5        compensation if he was hired. UF 5-29, 35, 49-70. Saini did not pay MRP to help
                    6        him find a job, and MRP would not receive any compensation unless and until
                    7        Saini performed work for a MRP client, which he never did. UF 2, 40-48, 73-82.
                    8        Incidental activities, such as Saini’s research prior to the interviews and the time
                    9        spent on the phone with Nowicki to prepare for and de-brief from the interviews,
                 10          were also for Saini’s own benefit to make him a better-prepared candidate for jobs
                 11          he wanted. According to Saini, “[i]t’s well known in IT. It takes a few hours
                 12          minimum to be prepared for the IT [interview] because they drill you on
                 13          everything.” BJ Dec. ¶ 2, Ex. A (VS Tr. 93:13-94:4).
                 14                While conceding the benefits he received from MRP (Opp. at 14:8-10,
                 15          stating: “[t]his is not to say that this process wouldn’t also benefit Saini”), Saini
                 16          argues that MRP received various intangible benefits from submitting him to
                 17          Experian, allegedly enhancing its relationship with Experian by sending them a
                 18          qualified candidate and, further, that Saini’s claimed “lengthy debriefing
                 19          conversations with Nowicki would have given MRP unique insight into the
                 20          interview process at Experian and provided valuable guidance to impart to future
                 21          placement candidates prior to their interviews” leading to “a greater chance that
                 22          those candidates would receive a position, which would improve MRP’s bottom
                 23          line.” Opp. at 13:1-19. Saini’s argument fails to demonstrate that MRP received
                 24          any “immediate advantage” from Saini’s efforts to find work. Indeed, even by
                 25          Saini’s own reasoning, no tangible benefit would accrue to MRP unless and until a
                 26          candidate was placed with Experian, resulting in compensation to MRP. UF 81.
                 27          Thus, there can be no genuine dispute that any “work” Saini claims to have
                 28          performed was more for his own benefit than any potential future benefit MRP may
C U RL E Y , H U RT GE N &                                                     REPLY ISO MTN. FOR SUM. JUDGMENT, OR IN
    J OHNSRU D L L P
  COUNSE LO RS AT LA W
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      MENLO PAR K                                                                             (CASE NO. 16-CV-01534 (KES)
             Case 8:16-cv-01534-JVS-KES              Document 23 Filed 02/17/17        Page 18 of 30 Page ID
                                                            #:823


                    1        have derived. Moreover, such “work” is the same preparation and interview time
                    2        any candidate applying for any job would have put in to land a job they wanted.
                    3        That MRP facilitated this process and helped Saini shine (at no cost to Saini nor
                    4        any fee accruing to MRP) should not transform Saini from a job applicant into an
                    5        employee performing compensable work.
                    6              Third, there is no evidence that Saini was “economically dependent” on
                    7        MRP. During his first round of interviews with Experian, Saini was employed full-
                    8        time by Centric Sky. UF 6. After the position with Experian was cancelled, Saini
                    9        chose to continue seeking opportunities through MRP, but also worked with other
                 10          agencies and ultimately found a position on his own. UF 40, 49-80; BJ Reply Dec.
                 11          at ¶ 5, Ex. A (VS Tr. 54:16-55:12, 91:25-92:4). Thus, he was never “economically
                 12          dependent” MRP, nor could he be as there was no agreement that he would be paid
                 13          for any of his time. UF 43, 77-78.
                 14                Finally, the fourth factor of whether rehabilitation or compensation was
                 15          contemplated by the relationship is irrelevant, however, even if it was applicable,
                 16          Saini has no evidence that any compensation was contemplated unless and until he
                 17          began working for one of MRP’s clients, which never occurred. UF 43, 77-78.
                 18                Saini’s reliance on Tony & Susan Alamo Foundation v. Secretary of Labor,
                 19          471 U.S. 290 (1985) for the proposition that he performed compensable work is
                 20          misplaced as, in that case, the defendant was a nonprofit religious organization that
                 21          derived its income largely from the operation of commercial businesses staffed by
                 22          “associates,” most of whom were drug addicts, derelicts, or criminals before their
                 23          rehabilitation by the Foundation. These “associates” received no cash salaries, but
                 24          were provided food, clothing, shelter, and other benefits. 471 U.S. at 292. Some
                 25          had been fired for poor performance and were prohibited from receiving food if
                 26          they were absent from work. Id. at 301, n. 22. Many were dependent on the
                 27          Foundation, having worked there for long periods up to several years, and some
                 28          having worked as much as 10 to 15 hours per day, 6 to 7 days per week. Id. at 301.
C U RL E Y , H U RT GE N &                                                   REPLY ISO MTN. FOR SUM. JUDGMENT, OR IN
    J OHNSRU D L L P
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      MENLO PAR K                                                                           (CASE NO. 16-CV-01534 (KES)
             Case 8:16-cv-01534-JVS-KES               Document 23 Filed 02/17/17         Page 19 of 30 Page ID
                                                             #:824


                    1        On these facts, the Supreme Court determined that the district court did not err in
                    2        finding that the associates were employees. Id. This case is nothing like Tony.
                    3        Here, Saini performed no work from which MRP derived any income and Saini’s
                    4        alleged “work” for MRP was nothing more than brief telephone discussions with
                    5        his recruiter, preparing for, traveling to, and participating in interviews with MRP’s
                    6        clients, and completing some standard pre-employment paperwork. UF 5-82. Each
                    7        interaction between MRP and Plaintiff was brief in duration and occurred
                    8        intermittently over the course of approximately four months. Id.
                    9              Saini cannot fit a square peg into a round role. He was a job applicant
                 10          interviewing for positions he wanted that would have compensated him, not an
                 11          employee performing compensable work. Accordingly, summary judgment is
                 12          proper on Saini’s first claim for relief. Alternatively, if the Court declines to grant
                 13          summary judgment, MRP requests an order stating that one or more of the activities
                 14          for which Saini seeks compensation are non-compensable as a matter of law.
                 15                B.     Summary Judgment Is Proper On Saini’s California State Law
                                          Claims.
                 16
                                          1.   Saini Fails To Raise A Triable Issue As To His Alleged
                 17                            Status As An MRP Employee.
                 18                For the same reasons discussed in connection with his FLSA claim, Saini
                 19          also fails to raise a triable issue as to his status as an MRP employee under
                 20          California law. Saini attempts to distinguish Welch-Hess v. Remedy Temporary
                 21          Services, which held that applicants for employment were not employees of the
                 22          temporary agency unless they were on assignment with a client, on the basis that it
                 23          predates the Northern District’s unpublished Betancourt and Sullivan decisions.
                 24          This is a classic distinction without a difference. Neither Sullivan nor Betancourt
                 25          “found that an employment relationship existed based on paperwork and
                 26          agreements between the job seeker and staffing agency.” Opp. at 15:5-18. Rather,
                 27          in Sullivan v. Kelly Services, Inc., No. C 08-3893 CW, 2009 WL 3353300 (N.D.
                 28          Cal. 2009), the court determined that “Plaintiff’s employment relationship with
C U RL E Y , H U RT GE N &                                                     REPLY ISO MTN. FOR SUM. JUDGMENT, OR IN
    J OHNSRU D L L P
  COUNSE LO RS AT LA W
                                                                     14               THE ALT., PARTIAL SUM. JUDGMENT
      MENLO PAR K                                                                             (CASE NO. 16-CV-01534 (KES)
             Case 8:16-cv-01534-JVS-KES               Document 23 Filed 02/17/17         Page 20 of 30 Page ID
                                                             #:825


                    1        Defendant began on . . . .her first day of her first temporary assignment with
                    2        Defendant’s customer.” Sullivan, 2009 WL 3353300, at *1. Here, Saini admits he
                    3        never had a first day with any MRP client because the only position he was offered
                    4        was cancelled before he started work. UF 30-48, 54, 71, 73-76, 78-80.
                    5              In Betancourt, the agency required its candidates to complete the full
                    6        onboarding process to become employees before being sent out on any interviews.
                    7        Betancourt v. Advantage Human Resourcing, Inc., Case No. 14-cv-01788-JST, 2014
                    8        WL 4365074, at *1 (N.D. Cal. 2014) (“Advantage interviews prospective workers,
                    9        sends them to a ‘new hire’ orientation, has new hires sign a form that acknowledges
                 10          that the parties are entering into an employment arrangement, and requires them to
                 11          complete traditional employment paperwork, including W–4 and I–9 forms. Upon
                 12          becoming an Advantage ‘employee,’ a person becomes eligible to interview for
                 13          positions with Advantage’s clients.”). In sharp contrast, Saini did not receive or fill
                 14          out paperwork here until after he was offered a job. UF 30-39. He did not become
                 15          an “employee” of MRP before being sent out on interviews. Indeed, Saini did not
                 16          even receive any of MRP’s pre-employment paperwork until after he received and
                 17          verbally accepted an offer from Experian. BJ Dec. at ¶ 2, Ex. A (VS Tr. 161:4-14,
                 18          161:22-162:21, 166:23-167:5, Ex. 44 at ¶¶ 17-19.) And, even then, he never
                 19          completed the full onboarding process because, among other things, his I-9 Form
                 20          was incomplete and he never signed the PTE. UF 30-48, 73-79.
                 21                Moreover, the holding in Welch-Hess is consistent with the Central District’s
                 22          ruling in Gunawan, in which the court held that, as a job applicant through a
                 23          temporary agency, plaintiff “was not an employee . . . performing compensable
                 24          work.” Gunawan, 997 F.Supp.2d at 1063. Like in the plaintiff in Welch-Hess who
                 25          agreed that the agency was only her employer when she was on assignment, Saini
                 26          reviewed and acknowledged MRP’s Employee Handbook, which states that “time
                 27          worked is all time actually spent on the job performing assigned duties.” UF 78.
                 28                For all of these reasons, Saini cannot raise a triable issue as to his alleged
C U RL E Y , H U RT GE N &                                                     REPLY ISO MTN. FOR SUM. JUDGMENT, OR IN
    J OHNSRU D L L P
  COUNSE LO RS AT LA W
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      MENLO PAR K                                                                             (CASE NO. 16-CV-01534 (KES)
             Case 8:16-cv-01534-JVS-KES               Document 23 Filed 02/17/17         Page 21 of 30 Page ID
                                                             #:826


                    1        status as an MRP employee and summary judgment is proper on his second through
                    2        seventh claims for relief under California law.
                    3                     2.     Saini Fails To Raise A Triable Issue That He Performed
                    4                            Compensable Work For MRP.

                    5              Saini also fails to raise a triable issue as to whether he performed any
                    6        compensable work under California law. Gunawan is directly on point and
                    7        disposes of Saini’s claim that he is entitled to compensation for interviews and
                    8        other pre-employment activities. Like the plaintiff in Gunawan, the undisputed
                    9        facts demonstrate that Saini was not required to use MRP’s services to find work
                 10          but, rather, reached out to MRP to apply for a job he wanted. UF 5-7. The client
                 11          decided whether to interview Saini, the manner of the interview (whether by phone
                 12          or in person), the date and time of the interview, the length of the interview, the
                 13          interviewers, and the questions to be asked. UF 3, 15-27, 50-53, 61-70. MRP did
                 14          not attend or participate in any of the interviews or direct Saini’s actions during the
                 15          interview (nor could it as Saini admits that most of the questions asked were
                 16          “technical questions” and “I’m more technical than [Workbridge]”). Id.; see also
                 17          UF 24 (VS Tr. 149:23-150:23, 151:8-14). Saini does not dispute that he was free to
                 18          determine where and how to participate in the telephone interviews, when and how
                 19          to travel to the in-person interviews, how to respond to the questions asked, and
                 20          whether to terminate the interview process. UF 15-27, 50-53, 61-70. Nowicki
                 21          needed a “right to represent” to even submit Saini for consideration, and Saini
                 22          admits that he could have terminated the interview process at any time if he felt
                 23          “this job is not for me.” UF 10-13, 26 (VS Tr. 145:3-10), 55-60. See Gunawan,
                 24          997 F.Supp.2d at 1063.
                 25                As anticipated, Saini attempts to distinguish the published Gunawan decision
                 26          by relying on two unpublished Northern District cases, Sullivan, 2009 WL
                 27          3353300, and Betancourt, 2014 WL 4365074, neither of which are persuasive.
                 28                First, Saini claims that he went on three interviews with MRP clients after
C U RL E Y , H U RT GE N &                                                     REPLY ISO MTN. FOR SUM. JUDGMENT, OR IN
    J OHNSRU D L L P
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      MENLO PAR K                                                                             (CASE NO. 16-CV-01534 (KES)
             Case 8:16-cv-01534-JVS-KES               Document 23 Filed 02/17/17        Page 22 of 30 Page ID
                                                             #:827


                    1        completing certain onboarding paperwork with MRP and allegedly being told by
                    2        his recruiter that he was an MRP employee. According to Plaintiff, the completion
                    3        of this paperwork makes him like plaintiff in Sullivan, whose interview time was
                    4        deemed compensable. Opp. at 17:8-18:7. In Sullivan, however, the court did not
                    5        rely upon the completion of paperwork in holding that the plaintiff was an
                    6        employee, but, rather, on the fact that she had completed an assignment with a
                    7        client of the temporary agency, which Saini admittedly did not. Sullivan, 2009 WL
                    8        3353300, at *1 (“Plaintiff’s employment relationship with Defendant began on . . .
                    9        .her first day of her first temporary assignment with Defendant’s customer.”); see
                 10          also UF 30-48, 54, 71, 73-76, 78-80. Thus, the fact that Saini completed certain
                 11          pre-employment paperwork does not make him an employee under Sullivan.
                 12                Further, MRP’s Employee Handbook makes clear that that “time worked is
                 13          all time actually spent on the job performing assigned duties,” and Saini admits that
                 14          he never performed any project management duties for Experian or any other MRP
                 15          client. UF 78-79. Notably, while the agency in Sullivan had a similar policy, the
                 16          court found that it could not rely on such a policy in arguing that the plaintiff was
                 17          not an employee in between assignments because, in prior litigation between
                 18          plaintiff and the agency, the agency asserted that plaintiff remained its employee
                 19          between assignments to avoid liability for not paying plaintiff her wages upon on
                 20          the termination of each assignment and, therefore, “[d]efendant cannot now change
                 21          course and deny that Plaintiff was its employee between assignments.” Sullivan,
                 22          2009 WL 3353300, at *1. MRP has made no such assertion.
                 23                Betancourt involved a distinguishable process from that at issue herein in
                 24          which the agency required the applicant to become an employee before being sent
                 25          out on any interviews. Betancourt, 2014 WL 4365074. Here, as noted above, Saini
                 26          did not become an “employee” of MRP before being sent out on interviews and
                 27          never completed the full onboarding process. BJ Dec. at ¶ 2, Ex. A (VS Tr. 161:4-
                 28          14, 161:22-162:21, 166:23-167:5, Ex. 44 at ¶¶ 17-19); UF 30-48, 73-79.
C U RL E Y , H U RT GE N &                                                    REPLY ISO MTN. FOR SUM. JUDGMENT, OR IN
    J OHNSRU D L L P
  COUNSE LO RS AT LA W
                                                                     17              THE ALT., PARTIAL SUM. JUDGMENT
      MENLO PAR K                                                                            (CASE NO. 16-CV-01534 (KES)
             Case 8:16-cv-01534-JVS-KES                Document 23 Filed 02/17/17         Page 23 of 30 Page ID
                                                              #:828


                    1              As to the purported level of alleged “control” exercised over the interview
                    2        process, substantially similar facts were analyzed in Sullivan and Betancourt as in
                    3        Gunawan, with the Northern District concluding that sufficient control existed, and
                    4        the Central District holding that “[i]n going to the interview . . ., [plaintiff] was not
                    5        under [the agency’s] control such that her time was not her own.” Gunawan, 997
                    6        F.Supp.2d at 1063. Indeed, the Central District expressly rejected the reasoning in
                    7        Sullivan, stating that “the Court is unpersuaded by Sullivan’s implicit finding that an
                    8        individual who voluntarily attends an interview arranged by a temporary services
                    9        agency is under the control of the temporary services agency such that he or she can
                 10          be considered to perform compensable work.” Gunawan, 997 F.Supp.2d at 1065.
                 11                Here, as in Gunawan, the undisputed facts support a finding that Saini
                 12          voluntarily participated in the interviews and application process. Nowicki could
                 13          not even submit Saini for consideration without a signed “right to represent” and,
                 14          while Saini may have been given limited choices as to interview times (as he would
                 15          have in any competitive situation), Saini admits that he was able to choose the date
                 16          of his interviews and he was even able to reschedule an interview with Experian
                 17          when he had a conflict with another interview outside of MRP. BJ Dec. ¶ 2, Ex. A
                 18          (VS Tr. 45:22-46:6); see also UF 64-68. Notably, neither the Sullivan nor
                 19          Betancourt decisions involved similar facts showing the applicant’s level of control
                 20          and involvement in the submission and interview scheduling process. Indeed, in
                 21          Sullivan, the agency even decided “which of its temporary employees to send on an
                 22          interview,” which is not true here as the client made those decisions. Sullivan, 2009
                 23          WL 3353300, at *4; see also UF 3, 8-30, 50-71.
                 24                Moreover, Saini’s position on this issue is internally inconsistent. On the one
                 25          hand, Saini claims that completing paperwork made him an employee, yet on the
                 26          other, he contends that MRP’s “control” over the interview and application process
                 27          made him an employee. Opp. at 17:15, n. 9, 18:3-7. According to Saini, this alleged
                 28          “control” began the instant he submitted his resume and listened to Nowicki’s pitch
C U RL E Y , H U RT GE N &                                                      REPLY ISO MTN. FOR SUM. JUDGMENT, OR IN
    J OHNSRU D L L P
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      MENLO PAR K                                                                              (CASE NO. 16-CV-01534 (KES)
             Case 8:16-cv-01534-JVS-KES                Document 23 Filed 02/17/17         Page 24 of 30 Page ID
                                                              #:829


                    1        about Workbridge, yet the paperwork did not come until months later when Plaintiff
                    2        was verbally offered and accepted a role with Experian that was then cancelled. UF
                    3        30-48. This inconsistency only highlights the fact that Saini was never an employee,
                    4        nor was he subject to MRP’s control.
                    5              Second, Saini claims that the “detailed substantive orientations and
                    6        debriefings that enabled Defendant to present more thoroughly vetted candidates to
                    7        its clients, and thereby market itself as a ‘partner’ in the talent - - and to obtain
                    8        information about its clients’ needs and interview practices to pass to future
                    9        candidates” establishes a greater level of “control” than Gunawan. However, a
                 10          similar argument was rejected in Gunawan. The plaintiff attempted to paint herself
                 11          as a “brand representative” for the agency and claimed that she conferred a benefit
                 12          on it by going to interviews. In rejecting this argument, the court stated:
                 13                [N]o reasonable interpretation of the facts would allow for a
                 14                determination that Ms. Gunawan’s activity was undertaken primarily
                                   for the benefit of KForce. Like any applicant for a job, Ms. Gunawan
                 15                chose to attend the TRG interview. While in her papers and at the
                 16                hearing, Ms. Gunawan attempts to couch herself as a “brand
                                   representative” for KForce, who conferred the benefit of spreading
                 17                KForce’s name to client employers, such argument belies the key fact
                 18                that Ms. Gunawan was “interviewing for employment” with TRG—
                                   that is, she was interviewing for a job that she wanted and that would
                 19                compensate her for her work. That her attendance at the interview, a
                 20                necessary condition of many employment relationships, also may have
                                   conferred some attenuated benefit to KForce is not enough to make
                 21                Ms. Gunawan an employee of KForce at the time of the interview.
                 22
                 23          Gunawan, 997 F.Supp.2d at 1064.
                 24                Here, likewise, the alleged “orientations” and debriefings (all of which were
                 25          short and by phone), do not establish “control.” As in Gunawan, “[n]othing
                 26          suggests that if [Saini] did not want [MRP] to . . . act as an intermediary . . ., [he]
                 27          could not simply have refused [MRP’s] placement service, and instead, attempted
                 28          to secure a position . . .through [his] own efforts. That [he] chose instead to utilize
C U RL E Y , H U RT GE N &                                                      REPLY ISO MTN. FOR SUM. JUDGMENT, OR IN
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      MENLO PAR K                                                                              (CASE NO. 16-CV-01534 (KES)
             Case 8:16-cv-01534-JVS-KES               Document 23 Filed 02/17/17         Page 25 of 30 Page ID
                                                             #:830


                    1        [MRP’s] service does not transform [Saini] from an applicant for employment to an
                    2        employee.” Gunawan, 997 F.Supp.2d at 1064. Further, as to “debriefings,” even
                    3        the Sullivan case, which was wrongly decided on the issue of interview time, held
                    4        that “Plaintiff’s time spent preparing for and debriefing with Defendant after the
                    5        interviews is not compensable. Time spent on these activities merely made Plaintiff
                    6        a better applicant, and these activities were not controlled by Defendant in the same
                    7        manner as the actual interview.” Sullivan, 2009 WL 3353300, at *6.
                    8              Third, Saini contends that “the control criteria the Gunawan court found
                    9        lacking – that turning down an interview would have adverse consequences with the
                 10          placement company, that the agency had control over the questions and answers in
                 11          the interview, and that the agency had control over the length of the interview and
                 12          the way the candidate should act during it – are all disputed facts here.” Opp. at
                 13          19:11-22. Saini’s position mischaracterizes the undisputed evidence.
                 14                First, Saini’s contention that he “believed that turning down an interview
                 15          would terminate his status as an MRP employee” lacks evidentiary support and is
                 16          contradicted by the undisputed facts. Saini’s own testimony (answering “yes” to
                 17          the question “so you felt like you had no choice but to participate in the telephone
                 18          interview?” VS Tr. 40:17-19) is self-serving, conclusory, and lacks foundation and
                 19          cannot raise a triable issue. See British Airways, 585 F.2d at 952 (9th Cir. 1978);
                 20          Zeinali, 2011 WL 2669459 at *4. The undisputed facts demonstrate that Saini was
                 21          able to reschedule an interview with Experian when he had a conflict with another
                 22          interview outside of MRP. UF 64-68. Nowicki confirmed that Saini “could accept
                 23          or decline an interview request based on his interest in the position and availability
                 24          for the interview. Had Mr. Saini declined an interview request, I would have
                 25          continued working with him to find other roles based on his interest.” KN Dec. ¶ 3.
                 26                Second, Saini’s claim that he was told what kind of questions would be
                 27          coming, how he should answer them, and what he should wear to the interview also
                 28          fails to raise a triable issue. Saini testified only that Nowicki provided insight into
C U RL E Y , H U RT GE N &                                                     REPLY ISO MTN. FOR SUM. JUDGMENT, OR IN
    J OHNSRU D L L P
  COUNSE LO RS AT LA W
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      MENLO PAR K                                                                             (CASE NO. 16-CV-01534 (KES)
             Case 8:16-cv-01534-JVS-KES               Document 23 Filed 02/17/17         Page 26 of 30 Page ID
                                                             #:831


                    1        “what kind of questions are going to be coming” “on the business side of things,”
                    2        not the technical questions because “[Nowicki] won’t be able to answer technical
                    3        questions.” (VS Tr. 150:18-151:14). This distinction is critical because most of the
                    4        questions asked during Saini’s interviews were “technical questions.” UF 24.
                    5        Moreover, Saini does not dispute that MRP’s clients decide “the questions to be
                    6        asked” at interviews, confirming MRP’s lack of control. UF 3. Indeed, in
                    7        confirming Saini’s first in-person interview with Experian, Nowicki stated: “I wish I
                    8        had more information regarding the interview but I an un-able to get any other
                    9        notes/feedback. I know that you will do just fine as long as you discuss prior work
                 10          projects/success and have a positive outgoing attitude.” UF 21 (VS Tr. at Ex. 6).
                 11          Finally, as to advice on how to dress, the Gunawan court rejected the notion that this
                 12          type of general advice evidenced control. Gunawan, 997 F.Supp.2d at 1064 (“And
                 13          much like any potential employer, KForce suggested to Ms. Gunawan that she
                 14          should dress professionally and arrive early to the interview.”).
                 15                Third, Saini’s claim that MRP set the time, date, and length of the interviews
                 16          is contradicted by his own testimony and the undisputed facts. UF 15-16, 20-21,
                 17          50, 61, 64-68; see also VS Tr. 39:22-25 (“Kyle told me this is their time . . . , and
                 18          that’s what the client is looking for.”) To the extent interviews went beyond their
                 19          anticipated lengths, this too was dictated by the client due to availability of the
                 20          interviewers and discussions running over schedule. BJ Dec. ¶ 2, Ex. A (VS Tr.
                 21          45:9-13 [“Kyle told me it will be two hours. That would be the interview time, but
                 22          it ended up being way more than two hours.”], 47:23-51:2); UF 20-26. As MRP
                 23          was not even present at these interviews, it is impossible to see how MRP could
                 24          have controlled the length of any interview. UF 15-26, 50-70. Thus, there are no
                 25          disputed facts as to other potential “control” criteria discussed in Gunawan.
                 26                Saini then argues that his alleged “work” meets the “suffer or permit” test.
                 27          The court in Gunawan rejected this alternative test, finding it was “not easily
                 28          translated outside of the factual context in which it was developed” and determining
C U RL E Y , H U RT GE N &                                                     REPLY ISO MTN. FOR SUM. JUDGMENT, OR IN
    J OHNSRU D L L P
  COUNSE LO RS AT LA W
                                                                     21               THE ALT., PARTIAL SUM. JUDGMENT
      MENLO PAR K                                                                             (CASE NO. 16-CV-01534 (KES)
             Case 8:16-cv-01534-JVS-KES               Document 23 Filed 02/17/17        Page 27 of 30 Page ID
                                                             #:832


                    1        that “[t]he focus on control then is an appropriate inquiry in determining whether a
                    2        compensable employment relationship was formed when [plaintiff] attended the . . .
                    3        interview.” Gunawan, 997 F.Supp.2d at 1064.
                    4              Moreover, other courts have expressly rejected the notion that interview time
                    5        can even be considered work in the first place where it is “clearly distinct from the
                    6        work to be performed if and after the interviewee is placed in a temporary
                    7        assignment.” See RJN at Ex. B (Lewis v. Adecco USA, Inc., 2014 WL 2516347, at
                    8        *3 (Cal. Super. Jan. 2, 2014) (granting motion for summary judgment on claims
                    9        brought by applicant of a temporary agency for alleged failure to pay minimum
                 10          wage, waiting time penalties, reimbursement of expenses, failure to provide
                 11          accurate itemized wage statements, and violation of §17200)). Saini’s attempt to
                 12          distinguish Lewis based on the holding in Betancourt is unavailing as Betancourt
                 13          was decided in the context of a motion to dismiss, not a motion for summary
                 14          judgment like Lewis, and held only that plaintiff had plead “enough facts to state a
                 15          claim to relief that is plausible on its face.” Betancourt, 2014 WL 4365074, at *1
                 16          (citing Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007)). Moreover, there
                 17          is no support for Saini’s assertion that his interview “consist[ed] of Saini giving
                 18          answers to questions provided to him by Defendant.” Opp. at 21:18-22. As noted
                 19          above, while MRP may have given Saini some general guidance on what to expect
                 20          in the interview based on prior dealings with Experian, Nowicki did not know the
                 21          specific questions that would be asked, nor could Nowicki direct Saini on how to
                 22          answer technical questions. UF 3, 21, 24.
                 23                Finally, Saini claims that his alleged “work” meets the common law test
                 24          which relies on “control of details,” an alternative test which was only at issue in
                 25          Betancourt and was rejected by Gunawan. Opp. at 20:8-21:22; see also Gunawan,
                 26          997 F.Supp.2d at 1064. This test, which examines factors such as “(1) whether the
                 27          worker engaged in a distinct occupation or business; (2) whether, considering the
                 28          kind of occupation and locality, the work is usually done under the alleged
C U RL E Y , H U RT GE N &                                                    REPLY ISO MTN. FOR SUM. JUDGMENT, OR IN
    J OHNSRU D L L P
  COUNSE LO RS AT LA W
                                                                     22              THE ALT., PARTIAL SUM. JUDGMENT
      MENLO PAR K                                                                            (CASE NO. 16-CV-01534 (KES)
             Case 8:16-cv-01534-JVS-KES               Document 23 Filed 02/17/17         Page 28 of 30 Page ID
                                                             #:833


                    1        employer’s direction or without supervision; (3) the skill required to do the work;
                    2        (4) whether the employer or the worker supplied the instrumentalities, tools, and
                    3        place of work; (5) the length of time the worker’s services are to be performed; (6)
                    4        whether payment is by time or by job; (7) whether the work is part of the
                    5        employer’s regular business; and (8) whether the parties believe they are creating
                    6        an employer-employee relationship,” is not particularly helpful in determining
                    7        whether Saini was a job applicant or employee, and was only relied upon in ruling
                    8        on a motion to dismiss. Betancourt, 2014 WL 4365074, at *5-*6. Because Saini
                    9        has failed to raise a triable issue that he performed compensable work, summary
                 10          judgment is proper on his second through seventh claims for relief.
                 11                Alternatively, if the Court declines to grant this motion, MRP requests an
                 12          order holding that the various activities for which Saini seeks compensation are
                 13          non-compensable. Indeed, even the cases upon which Saini relies hold only that
                 14          certain interview time may be compensable (a position rejected by the Central
                 15          District in Gunawan), and reject Saini’s claims that preparation time, debriefing
                 16          time, and travel time are also compensable. See Sullivan, 2009 WL 3353300, at *5-
                 17          *6. Saini also fails to cite to a single case holding that alleged “orientation” time,
                 18          time spent completing pre-employment paperwork, or merely being placed with a
                 19          client without performing work for that client is compensable. Opp. at 22:1-13.
                 20                C.     Saini Fails To Raise A Triable Issue As To His Fifth, Sixth, and
                                          Seventh Claims For Relief.
                 21
                 22                Saini argues that there are triable issues as to whether MRP acted in good faith
                 23          under Labor Code Section 203 in failing to pay Saini wages for his pre-employment
                 24          activities because the Sullivan and Betancourt decisions were available to MRP.
                 25          Opp. at 22:14-23:3. This argument ignores the fact that Gunawan, a published case
                 26          in the Central District, reached the opposite conclusion, finding such interview time
                 27          non-compensable. As MRP indisputably had a good faith belief that Saini was not
                 28          its employee and was not entitled to be paid for interview time or other activities,
C U RL E Y , H U RT GE N &                                                     REPLY ISO MTN. FOR SUM. JUDGMENT, OR IN
    J OHNSRU D L L P
  COUNSE LO RS AT LA W
                                                                     23               THE ALT., PARTIAL SUM. JUDGMENT
      MENLO PAR K                                                                             (CASE NO. 16-CV-01534 (KES)
             Case 8:16-cv-01534-JVS-KES              Document 23 Filed 02/17/17        Page 29 of 30 Page ID
                                                            #:834


                    1        summary judgment is proper on Saini’s fifth claim for relief. See Harris v. Vector
                    2        Marketing Corp., 656 F. Supp. 2d 1128, 1146-47 (N.D. Cal. 2009).
                    3              For the same reasons, Saini fails to raise a triable issue as to whether MRP
                    4        acted knowingly and intentionally in failing to provide him with an itemized wage
                    5        statement. Opp. at 23:4-24:5. This is not a case in which a wage statement was
                    6        provided that was deficient, but, rather, one in which no wage statement was issued
                    7        because Saini was not an employee and performed no compensable work. Harris,
                    8        656 F. Supp. 2d at 1145-46. Finally, because each of Saini’s preceding claims for
                    9        relief fail, his derivative claim for violation of §17200 likewise fails. Gunawan, 997
                 10          F.Supp.2d at 1070.
                 11                D.     Saini’s Rule 56(d) Request Should Be Denied.
                 12                Saini requests relief under Rule 56(d), claiming that MRP filed its motion
                 13          early, and he has not had the opportunity to gather the evidence needed to oppose
                 14          the motion. Opp. at 24:14-25:18. Neither argument has merit. Saini filed his
                 15          Complaint nearly seven months ago, on July 19, 2016. (VS Tr. 161:4-14, Ex. 44.)
                 16          On November 4, 2016, the parties filed a Joint Status Report in which MRP
                 17          indicated its intent to move for summary judgment promptly. (Dkt. 14.) On
                 18          November 7, 2016, the parties exchanged Initial Disclosures, with MRP producing
                 19          247 pages of documents related to Saini’s interactions with MRP on December 19,
                 20          2016. BJ Reply Dec. at ¶¶ 3-4. On December 20, 2016, MRP took Saini’s
                 21          deposition. Id. at ¶ 5. Saini waited until January 6, 2017, some two months after
                 22          Initial Disclosures, to even serve a request for production of documents and special
                 23          interrogatories. Id. at ¶ 6, Exs. B-C. MRP responded to requests related to Saini,
                 24          but objected to Saini’s class discovery on various grounds Id. at ¶ 7. To date, Saini
                 25          has not requested the depositions of any of MRP’s witnesses. Id. at ¶ 8.
                 26                To obtain a continuance for additional discovery under Rule 56(d), Saini
                 27          must show “the specific facts that further discovery would reveal, and explain why
                 28          those facts would preclude summary judgment,” as well as the specific reasons why
C U RL E Y , H U RT GE N &                                                   REPLY ISO MTN. FOR SUM. JUDGMENT, OR IN
    J OHNSRU D L L P
  COUNSE LO RS AT LA W
                                                                    24              THE ALT., PARTIAL SUM. JUDGMENT
      MENLO PAR K                                                                           (CASE NO. 16-CV-01534 (KES)
             Case 8:16-cv-01534-JVS-KES               Document 23 Filed 02/17/17        Page 30 of 30 Page ID
                                                             #:835


                    1        the evidence was not discovered or obtain earlier in the proceedings and the steps or
                    2        procedures by which the opposing party proposes to obtain the evidence within a
                    3        reasonable time. Tatum v. City & County of San Francisco, 441 F.3d 1090, 1100-
                    4        1101 (9th Cir. 2006); Mackey v. Pioneer Nat’l Bank, 867 F.2d 520, 524 (9th Cir.
                    5        1989); Fed. R. Civ. Proc. 56(d). Saini fails to meet this standard.
                    6              Saini fails to, and cannot show what specific facts further discovery would
                    7        reveal and explain how those facts would preclude summary judgment. While
                    8        Saini contends that MRP’s discovery responses are “inadequate and evasive,” he
                    9        does not cite to a single request that would have any bearing whatsoever on the
                 10          instant motion, nor could he as Saini’s discovery relates almost entirely to class
                 11          issues. BJ Reply Dec. at ¶ 6, Exs. A-B; Phelps Dec. at ¶ 18. Saini also fails to
                 12          identify which of MRP’s corporate representatives he would intend to depose or
                 13          discuss how the evidence he would hope to obtain would impact this motion.
                 14          Phelps Dec. at ¶¶ 18-19. Indeed, all of the alleged “evidence” Saini intends to seek
                 15          is already argued in his Opposition. Phelps Dec. at ¶ 19. Accordingly, Saini’s
                 16          request for relief under Rule 56(d) should be denied. There is no reason the Court
                 17          cannot rule on Defendant’s motion based on the existing record, which fully
                 18          addresses Saini’s own dealings with MRP.
                 19          IV.   CONCLUSION
                 20                Accordingly, MRP respectfully requests that this Court grant its motion for
                 21          summary judgment and enter judgment in favor of MRP and against Saini.
                 22
                 23          Dated: February 17, 2017               CURLEY, HURTGEN & JOHNSRUD LLP

                 24                                                 By      /s/ Brian L. Johnsrud
                                                                         BRIAN L. JOHNSRUD
                 25                                                      Attorneys for Defendant
                 26                                                      MOTION RECRUITMENT
                                                                         PARTNERS, LLC
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C U RL E Y , H U RT GE N &                                                    REPLY ISO MTN. FOR SUM. JUDGMENT, OR IN
    J OHNSRU D L L P
  COUNSE LO RS AT LA W
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      MENLO PAR K                                                                            (CASE NO. 16-CV-01534 (KES)
